Case: 1:19-cv-07190 Document #: 509-4 Filed: 04/29/24 Page 1 of 5 PageID #:23153




        EXHIBIT 4
Case: 1:19-cv-07190 Document #: 509-4 Filed: 04/29/24 Page 2 of 5 PageID #:23154


From:          Roche, Jennifer L.
To:            Maura Grossman; Hinger, Cathy
Cc:            Weaver, Kurt; Bruno, Victoria; Ames, Lela; Baker, Jeremy; audley@chapman.com; Mia D. D"Andrea; Nemith,
               Mike; Vinti, Baldassare; Mervis, Michael T.; Gordon, Amy B.; Gallagher, Katie; Alladi, Om V.
Subject:       RE: Craigville Telephone Co. et al v. T-Mobile USA, Inc. - TMUS"s Opposition to Plaintiffs" Motion to Restore Rule
               30(b)(6) Time and to Compel TMUS to Reproduce Prepared Rule 30(b)(6) Witnesses on Matters 12(a) and 41
Date:          Monday, March 18, 2024 8:09:54 PM
Attachments:   image001.png
               image002.png
               image003.png
               image004.png




    External (jroche@proskauer.com)

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Dr. Grossman,

The parties have come to an agreement regarding Plaintiffs’ Letter Motion to
Restore 30(b)(6) Time on Topics 12(a) and 41 by which TMUS has agreed to
restore all the 30(b)(6) time sought by the motion. As a result, TMUS is
withdrawing its opposition and you will not need to resolve that motion.


Jennifer L. Roche
Senior Counsel

Proskauer
2029 Century Park East
Suite 2400
Los Angeles, CA 90067-3010
d 310.284.5635; tel:+13102845635
f 310.557.2193
jroche@proskauer.com


From: Maura Grossman <maura.grossman@uwaterloo.ca>
Sent: Monday, March 11, 2024 5:35 PM
To: Hinger, Cathy <Cathy.Hinger@wbd-us.com>
Cc: Weaver, Kurt <Kurt.Weaver@wbd-us.com>; Bruno, Victoria <Victoria.Bruno@wbd-us.com>;
Ames, Lela <Lela.Ames@wbd-us.com>; Baker, Jeremy <Jeremy.Baker@wbd-us.com>;
audley@chapman.com; Mia D. D'Andrea <dandrea@chapman.com>; Nemith, Mike
<Mike.Nemith@wbd-us.com>; Vinti, Baldassare <BVinti@proskauer.com>; Mervis, Michael T.
<MMervis@proskauer.com>; Roche, Jennifer L. <jroche@proskauer.com>; Gordon, Amy B.
Case: 1:19-cv-07190 Document #: 509-4 Filed: 04/29/24 Page 3 of 5 PageID #:23155


<AGordon@proskauer.com>; Gallagher, Katie <Katie.Gallagher@wbd-us.com>; Alladi, Om V.
<OAlladi@proskauer.com>
Subject: RE: Craigville Telephone Co. et al v. T-Mobile USA, Inc. - TMUS's Opposition to Plaintiffs'
Motion to Restore Rule 30(b)(6) Time and to Compel TMUS to Reproduce Prepared Rule 30(b)(6)
Witnesses on Matters 12(a) and 41

This email sent by maura.grossman@uwaterloo.ca originated from outside the Firm.

No problem.

M.R.G.

From: Hinger, Cathy <Cathy.Hinger@wbd-us.com>
Sent: Monday, March 11, 2024 7:47 PM
To: Maura Grossman <maura.grossman@uwaterloo.ca>
Cc: Weaver, Kurt <Kurt.Weaver@wbd-us.com>; Bruno, Victoria <Victoria.Bruno@wbd-us.com>;
Ames, Lela <Lela.Ames@wbd-us.com>; Baker, Jeremy <Jeremy.Baker@wbd-us.com>;
audley@chapman.com; Mia D. D'Andrea <dandrea@chapman.com>; Nemith, Mike
<Mike.Nemith@wbd-us.com>; Vinti, Baldassare <BVinti@proskauer.com>; Mervis, Michael T.
<MMervis@proskauer.com>; Roche, Jennifer L. <jroche@proskauer.com>; Gordon, Amy B.
<AGordon@proskauer.com>; Gallagher, Katie <Katie.Gallagher@wbd-us.com>; Alladi, Om V.
<OAlladi@proskauer.com>
Subject: RE: Craigville Telephone Co. et al v. T-Mobile USA, Inc. - TMUS's Opposition to Plaintiffs'
Motion to Restore Rule 30(b)(6) Time and to Compel TMUS to Reproduce Prepared Rule 30(b)(6)
Witnesses on Matters 12(a) and 41

Dear Dr. Grossman,

Plaintiffs request an extension of their 3/12/24 Reply date on this motion to 3/18/24. TMUS
consented to this request by email. There are three depositions this week starting tomorrow that
were not scheduled at the time we negotiated the 3/12 date. We hope this is agreeable to you.

Best Regards,
Cathy Hinger


Cathy Hinger
She/Her
Partner
Womble Bond Dickinson (US) LLP

d: 202-857-4489                                      2001 K Street, NW
m: 703-585-3620                                      Suite 400 South
e: Cathy.Hinger@wbd-us.com                           Washington, DC 20006




                                                     womblebonddickinson.com
    Case: 1:19-cv-07190 Document #: 509-4 Filed: 04/29/24 Page 4 of 5 PageID #:23156




Signature for Hinger, Cathy




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Disclaimer for Hinger, Cathy




From: Alladi, Om V. <OAlladi@proskauer.com>
Sent: Friday, March 8, 2024 6:04 PM
To: Maura Grossman <maura.grossman@uwaterloo.ca>
Cc: Hinger, Cathy <Cathy.Hinger@wbd-us.com>; Weaver, Kurt <Kurt.Weaver@wbd-us.com>; Bruno,
Victoria <Victoria.Bruno@wbd-us.com>; Ames, Lela <Lela.Ames@wbd-us.com>; Baker, Jeremy
<Jeremy.Baker@wbd-us.com>; audley@chapman.com; Mia D. D'Andrea <dandrea@chapman.com>;
Nemith, Mike <Mike.Nemith@wbd-us.com>; Vinti, Baldassare <BVinti@proskauer.com>; Mervis,
Michael T. <MMervis@proskauer.com>; Roche, Jennifer L. <jroche@proskauer.com>; Alladi, Om V.
<OAlladi@proskauer.com>; Gordon, Amy B. <AGordon@proskauer.com>; Gallagher, Katie
<Katie.Gallagher@wbd-us.com>
Subject: Craigville Telephone Co. et al v. T-Mobile USA, Inc. - TMUS's Opposition to Plaintiffs' Motion
to Restore Rule 30(b)(6) Time and to Compel TMUS to Reproduce Prepared Rule 30(b)(6) Witnesses
on Matters 12(a) and 41



Dear Dr. Grossman:

Please find attached T-Mobile USA, Inc.’s Opposition to Plaintiffs’ Letter Motion
to Restore 30(b)(6) Time on Topics 12(a) and 41, along with electronic copies of
the exhibits cited therein. We will send you a hardcopy binder with these
materials next week.

Respectfully,
Om

Om V. Alladi
Associate

Proskauer
Eleven Times Square
New York, NY 10036-8299
d 212.969.3633
Case: 1:19-cv-07190 Document #: 509-4 Filed: 04/29/24 Page 5 of 5 PageID #:23157


f 212.969.2900
oalladi@proskauer.com
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